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 6

 7                              UNITED STATES DISTRICT COURT
 8                                        DISTRICT OF NEVADA
 9                                                    -oOo-
10    UNITED STATES OF AMERICA,                      )       2:11-cr-0310-JCM-RJJ
                                                     )
11                           Plaintiff,              )       JOINT PROTECTIVE ORDER RE:
                                                     )       VIDEO RECORDINGS OF UNDERCOVER
12       vs                                          )       TRANSACTIONS (AMENDED TO ADD
                                                     )       ATTORNEY GABRIEL GRASSO)
13    JACOB LILL;                                    )
      EDMUND SCHROBACK;                              )
14    CHRISTOPHER GREEN;                             )
      KYLE LAIR; and                                 )
15    ANA MARTINEZ                                   )
                                                     )
16                                                   )
                            Defendants               )
17

18                   The parties having met and conferred regarding the content of video recordings to be
19    released as supplemental discovery in this matter, hereby agree that the Government, upon this
20    Court’s approval of this Protective Order, will release to undersigned defense counsel within ten (10)
21    days, supplemental discovery including video recordings of controlled purchases of marijuana by
22    undercover agents.
23                   By signing this Protective Order, defense counsel agree that the above-referenced
24    materials will be maintained by their offices and associates in the strictest confidence. Access to these
25    materials will be limited to counsel, defendants, investigators, paralegals, experts and other
26    individuals who have been retained or appointed by the Court to represent the defendants, and who
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 1     will be provided a copy of this Order. Counsel further agree that these materials will not be copied

 2    or publically disseminated (other than for use directly in court proceedings). Furthermore, copies of

 3    the videos may not be provided directly to the individual Defendants, including the Defendants who

 4    are parties to this agreement, until such time as the Government agrees to such disclosure and/or it

 5    is ordered by the Court.

 6                   For parties who are not signatories to this agreement, copies of these materials will be

 7    maintained at the United States Attorneys Office, where they have been made available for viewing.

 8

 9                                          Respectfully Submitted this     6th day of June, 2012.

10                                                                  DANIEL G. BOGDEN
                                                                    United States Attorney
11
                                                                           /s
12                                                                  __________________________
                                                                    Bradley W. Giles
13                                                                  Assistant United States Attorney

14
      Dated:          5/31/12                                              /s
15                                                                  Michael Cristalli
                                                                    Attorney for: Jacob Lill
16
                                                                           /s
17    Dated:          5/31/12                                       Paola M. Armeni
                                                                    Attorney for: Edmund Schroback
18
                                                                           /s
19    Dated:          5/31/12                                       Mace J. Yampolsky
                                                                    Attorney for: Christopher Green
20
                                                                           /s
21    Dated:          5/31/12                                       Karen Winckler
                                                                    Attorney for: Kyle Lair
22
                                                                           /s
23    Dated:          6/6/12                                        Gabriel Grasso
                                                                    Attorney for: Ana Martinez
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                                 UNITED STATES DISTRICT COURT
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                                       DISTRICT OF NEVADA
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      UNITED STATES OF AMERICA                     )        2:11-cr-0310-JCM-RJJ
 9                                                 )
                    Plaintiff,                     )       PROTECTIVE ORDER RE: VIDEO
10                                                 )       RECORDINGS OF UNDERCOVER
         vs                                        )       TRANSACTIONS
11                                                 )
      JACOB LILL;                                  )
12    EDMUND SCHROBACK;                            )
      CHRISTOPHER GREEN;                           )
13    KYLE LAIR; and                               )
      ANA MARTINEZ                                 )
14                                                 )
                                                   )
15                          Defendants             )

16

17                  Based on the pending stipulation of the parties, and good cause appearing therefore,

18    IT IS HEREBY ORDERED that:

19                  Ten days from the date of this Order, the Government shall release to signatory defense

20    counsel supplemental discovery including video recordings of controlled purchases of marijuana by

21    undercover agents.

22    IT IS FURTHER ORDERED that:

23                  The video recordings released pursuant to the supplemental discovery package shall

24    be maintained in the strictest confidence. Access to the recordings shall be limited to counsel,

25    defendants, investigators, paralegals, experts and other individuals who have been appointed by the

26    Court to represent the signatory defendants, and who shall be provided with a copy of this Order.


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 1    IT IS FURTHER ORDERED that:

 2                   While the Defendants may view the videos of these transactions, they shall not be

 3    provided with a copy of these materials. Furthermore, none of these materials may be publically

 4    displayed or disseminated, except when used in direction connection with legal proceedings before

 5    this Court. There shall be no further dissemination of these materials unless and until such time as

 6    the Government agrees to such disclosure and/or it is ordered by the Court.

 7

 8                                                 DATED this 12 day of _____,
                                                                        June 2012.

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                                                   UNITED STATES MAGISTRATE JUDGE
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